    Case 21-30721-sgj11 Doc 318 Filed 07/27/21                       Entered 07/27/21 16:54:47              Page 1 of 16




The following constitutes the ruling of the court and has the force and effect therein described.




Signed July 27, 2021
______________________________________________________________________


                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                          DALLAS DIVISION

                                                                 §
         In re:                                                  §            Chapter 11
                                                                 §
         FRESH ACQUISITIONS, LLC, et al.,1                       §            Case No. 21-30721 (SGJ)
                                                                 §
                                           Debtors.              §            (Jointly Administered)
                                                                 §
                                                                 §            Re: Docket No. 300

                           ORDER (I) AUTHORIZING AND APPROVING
                     THE SETTLEMENT BY AND BETWEEN THE DEBTORS AND
                  ARIZONA BANK AND TRUST AND (II) GRANTING RELATED RELIEF

                  Upon the motion (the “Motion”),2 filed by the above-captioned debtors and debtors in

     possession (the “Debtors”), for entry of an order (this “Order”) (a) authorizing the Debtors’ entry

     into the Modified Forbearance Agreement attached hereto as Exhibit 1, by and between the

     Debtors and Arizona Bank & Trust (“AB&T”), and (b) granting related relief, all as more fully set


     1
       The Debtors in these chapter 11 cases and the last four digits of each Debtor’s taxpayer identification number are as
     follows: Alamo Fresh Payroll, LLC (1590); Fresh Acquisitions, LLC (2795); Alamo Ovation, LLC (9002); Buffets
     LLC (2294); Hometown Buffet, Inc. (3002); Tahoe Joe’s Inc. (7129); OCB Restaurant Company, LLC (7607); OCB
     Purchasing, Co. (7610); Ryan’s Restaurant Group, LLC (7895); Fire Mountain Restaurants, LLC (8003); Food
     Management Partners, Inc. (7374); FMP SA Management Group, LLC (3031); FMP-Fresh Payroll, LLC (8962); FMP-
     Ovation Payroll, LLC (1728); and Alamo Buffets Payroll, LLC (0998). The Debtors’ principal offices are located at
     2338 N. Loop 1604 W., Suite 350, San Antonio, TX 78248, United States.
     2
       Capitalized terms used herein but not otherwise defined shall have the meaning ascribed to them in the Motion.


     4847-3380-1971
Case 21-30721-sgj11 Doc 318 Filed 07/27/21                Entered 07/27/21 16:54:47           Page 2 of 16




forth in the Motion; and the Court having jurisdiction to consider the Motion pursuant to

28 U.S.C. § 1334; and this being a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and it

appearing that notice of the Motion and the hearing thereon was sufficient under the circumstances,

and that no other or further notice is required; and the Court having determined that the relief

requested in the Motion is a reasonable exercise of the Debtors’ business judgment and in the best

interests of the Debtors and their estates, and good and sufficient cause having been shown, it is

HEREBY ORDERED THAT:

         1.      The Settlement is approved.

         2.      The Debtors are hereby authorized to enter into the Modified Forbearance

Agreement and enter into, perform, execute, and deliver all documents, and take all actions,

necessary to immediately and fully implement the Settlement in accordance with the terms,

conditions, and agreements set forth in the Modified Forbearance Agreement, all of which,

including the mutual releases contained therein, are hereby approved.2

         3.      Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

are immediately effective and enforceable upon its entry.

         4.      All time periods set forth in this Order shall be calculated in accordance with

Bankruptcy Rule 9006(a).

         5.      Except as expressly set forth in this Order or the Modified Forbearance Agreement,

nothing in this Order or the Modified Forbearance Agreement shall be construed as a release by

the Debtors or their estates of Alamo Dynamic, LLC, the Guarantors, or any of their managers,

officers, directors, agents or affiliates from any causes of action including the Chapter 5 Avoidance

Actions described in Sections 544 through 550 of the Bankruptcy Code.


2
  This release does not apply to the PPP loan extended by AB&T to Fresh, for which Fresh has submitted a loan
forgiveness application.

                                                     2
4847-3380-1971
Case 21-30721-sgj11 Doc 318 Filed 07/27/21             Entered 07/27/21 16:54:47        Page 3 of 16




         6.      This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.

                                  # # # END OF ORDER # # #

Submitted by:

Jason S. Brookner
Texas Bar No. 24033684
Aaron M. Kaufman
Texas Bar No. 24060067
Amber M. Carson
Texas Bar No. 24075610
GRAY REED
1601 Elm Street, Suite 4600
Dallas, Texas 75201
Telephone:       (214) 954-4135
Facsimile:       (214) 953-1332
Email:           jbrookner@grayreed.com
                 akaufman@grayreed.com
                 acarson@grayreed.com

COUNSEL TO THE DEBTORS
AND DEBTORS IN POSSESSION




                                                   3
4847-3380-1971
Case 21-30721-sgj11 Doc 318 Filed 07/27/21   Entered 07/27/21 16:54:47   Page 4 of 16




                                     Exhibit 1

                          Modified Forbearance Agreement




4847-3380-1971
   Case 21-30721-sgj11 Doc 318 Filed 07/27/21                Entered 07/27/21 16:54:47   Page 5 of 16




                       MODIFICATION TO LIMITED FORBEARANCE AGREEMENT
                                          (“Agreement”)

DATE:                               July __, 2021

PARTIES:

          Lender:                   Arizona Bank & Trust (“Lender”)
                                    Attn: Jim Klussman
                                    2036 E. Camelback Road
                                    Phoenix, AZ 85016

          Borrowers:                Alamo Dynamic, LLC (“Alamo”)
                                    2338 N. Loop 1604 W. Ste 350
                                    San Antonio TX, 78248

                                    Fresh Acquisitions, LLC (“Fresh”)
                                    2338 N. Loop 1604 W. Ste 350
                                    San Antonio TX, 78248

                                    FMP SA Management Group, LLC (“FMP”)
                                    2338 N. Loop 1604 W. Ste 350
                                    San Antonio TX, 78248

          Guarantors:               Alamo Furr’s, LLC
                                    2338 N. Loop 1604 W. Ste 350
                                    San Antonio TX, 78248

                                    Alamo Furr’s II, LLC
                                    2338 N. Loop 1604 W. Ste 350
                                    San Antonio TX, 78248

                                    Allen Jones
                                    2338 N. Loop 1604 W. Ste 350
                                    San Antonio TX, 78248

                                    Larry and Rachel Harris
                                    2338 N. Loop 1604 W. Ste 350
                                    San Antonio TX, 78248

                                    Jason and Tara Kemp
                                    2338 N. Loop 1604 W. Ste 350
                                    San Antonio TX, 78248




                                                         1
Modificaton to Limited Forbearance Agreement
{0002260.0192/01235849.DOCX / 3}
   Case 21-30721-sgj11 Doc 318 Filed 07/27/21         Entered 07/27/21 16:54:47      Page 6 of 16




                           Brian Padilla
                           2338 N. Loop 1604 W. Ste 350
                           San Antonio TX, 78248
Lender, Borrowers, and Guarantors are sometimes collectively referred to herein as the “Parties” and
individually as a “Party.”

                                               RECITALS

       A.     On or about January 2, 2015, Borrowers Fresh Acquisitions, LLC (“Fresh”) and Alamo
Dynamics, LLC (“Alamo” and together with Fresh, the “Original Borrowers”) executed the
Commercial Loan Agreement (“CLA”) with the Bank. Pursuant to the CLA, on or about January 2,
2015, the Bank made a secured loan to Original Borrowers in the principal amount of $8,707,500.00 (the
“RE Loan”).

        B.       As evidence of the RE Loan, Original Borrowers executed the Promissory Note of even
date, in the principal amount of $8,707,500.00 (the “RE Note”).

      C.      Contemporaneously with the execution and delivery of the CLA and RE Note, each
Guarantor and Borrower FMP SA Management Group, LLC (“FMP”) executed a form of Continuing
Guaranty guaranteeing Original Borrowers’ obligations under the RE Note and the CLA.

       D.     On or about June 29, 2015, Original Borrowers and Bank entered into a Modification
to Commercial Loan Agreement (“First Modification”) incorporating, among other things, the terms and
conditions of a short term loan by the Bank to Original Borrowers in the principal amount of
$14,500,000.00 (the “Bridge Loan” and together with the RE Loan, the “Loans”) evidenced by a
new Promissory Note in the same amount (the “Bridge Note” and together with the RE Note, the
“Notes”).

      E.      Contemporaneously with the execution and delivery of the First Modification and Bridge
Note, each Guarantor and FMP executed a form of Continuing Guaranty guaranteeing Original
Borrowers’ obligations under the Bridge Note and the CLA, as modified.

        F.      On or about August 18, 2015, Original Borrowers, Guarantors, FMP, and the Bank
(collectively, the “Parties”) entered into a Second Modification to Commercial Loan Agreement
(“Second Modification”) incorporating, among other things, an agreement by the Parties to modify
the Bridge Loan and the collateral securing the Bridge Loan.

        G.     On or about December 17, 2015, the Parties entered into a Third Modification to Loan
Agreement (“Third Modification”) pursuant to which the Parties agreed to, among other things,
further modify the Bridge Loan and the Loan Documents (as defined below).

        H.     On or about December 20, 2016, the Parties entered into a Fourth Modification to Loan
Agreement (“Fourth Modification”) pursuant to which the Bank agreed to provide limited waivers to
certain covenant obligations of Original Borrowers under the Loan Documents.




                                                  2
Modificaton to Limited Forbearance Agreement
{0002260.0192/01235849.DOCX / 3}
   Case 21-30721-sgj11 Doc 318 Filed 07/27/21         Entered 07/27/21 16:54:47       Page 7 of 16




        I.      On or about May 30, 2017, the Parties entered into a Fifth Modification to Loan
Agreement (“Fifth Modification”) pursuant to which the Bank agreed to provide certain further limited
waivers to certain covenant obligations of Original Borrowers under the Loan Documents and FMP was
added as a Co-Borrower under the Notes. Original Borrowers and FMP (as Borrower) are
collectively referred to hereinafter as “Borrowers”.

       J.     Effective as of February 28, 2021, the Parties entered into a Limited Forbearance
Agreement (the “Forbearance Agreement and collectively with the First, Second, Third, Fourth and Fifth
Modification Agreements, the “Modification Agreements”) pursuant to which Lender agreed to forbear
from exercising its rights and remedies with respect to certain Loan Defaults (as defined in the
Forbearance Agreement).

        K.      Among other things, the Forbearance Agreement required Borrowers to either effectuate
and pay down of $1.0 million on the Bridge Loan or fund and pledge a restricted deposit account to be
held at Lender as security for the Bridge Loan in the amount of $1.0 million on or before June 30, 2021
(the “June 30 Deliverables”). The Forbearance Agreement further provided that the New Maturity Date
of the Loans is July 31, 2021.

        L.     Repayment of the Loans is secured by, among other things, a valid and perfected
security interest in favor of the Bank in and to the personal property of each Borrower, as
described below, and as evidenced on separate Commercial Security Agreements, executed by
Original Borrowers on or about August 18, 2015, (collectively, the “Security Agreements”) and
granting a security interest in and to substantially all of their operating assets.

        M.      The security interests granted to the Bank under the Security Agreements were validly
perfected by the filing of UCC-1 Financing Statements with the states of Delaware and Texas, as
applicable for each Borrower (collectively, the “UCC-1s”).

      N.      In addition, the Loans are secured by three separately recorded deeds of trust
(“Deeds of Trust”) including:

               1.    Deed of Trust, Fixture Filing and Assignment of Rents dated January 2, 2015,
and recorded on January 7, 2015, in the Office of the Lubbock County Recorder, State of Texas, under
Instrument No. 2015000530, as modified from time-to-time thereafter and encumbering certain real
property described more fully therein;

               2.     Deed of Trust, Fixture Filing and Assignment of Rents dated January 2, 2015,
and recorded on January 7, 2015, in the Office of the Lubbock County Recorder, State of Texas, under
Instrument No. 2015000529, as modified from time-to-time thereafter and encumbering certain real
property described more fully therein; and

               3.    Deed of Trust, Fixture Filing and Assignment of Rents dated June 29, 2015,
and recorded on August 10, 2015, in the Office of the Lubbock County Recorder, State of Texas, under
Instrument No. 2015029067, as modified from time-to-time thereafter and encumbering certain real
property described more fully therein.



                                                  3
Modificaton to Limited Forbearance Agreement
{0002260.0192/01235849.DOCX / 3}
   Case 21-30721-sgj11 Doc 318 Filed 07/27/21          Entered 07/27/21 16:54:47        Page 8 of 16




        O.      The CLA, Modification Agreements, Notes, Security Agreements, UCC-1s, Deeds of
Trust, and each and every one of the guaranties executed by the Guarantors in favor of Lender are
collectively referred to herein as the “Loan Documents.”

        P.       On April 20, 2021, Borrowers Fresh and FMP (collectively the “Bankruptcy Debtors”)
filed petitions for relief under Chapter 11 of the United States Bankruptcy Code 11 U.S.C. § 101, et seq.
(the “Bankruptcy Code”) in a series of bankruptcy cases administratively consolidated before the U.S.
Bankruptcy Court for the Northern District of Texas Dallas Division (the “Bankruptcy Court”) as Case
No. 21-30721 (SGJ) (the “Bankruptcy Case”).

        Q.      Borrowers are in default of their obligations under the Forbearance Agreement for not
timely satisfying the June 30 Deliverables.

      R.     Alamo and Guarantors have now requested that Lender agree to modify the Forbearance
Agreement to allow them to cure the June 30 Deliverables and release certain limited collateral pledged
by Alamo to secure the Loans consisting of Alamo’s operating assets in exchange for a one-time
payment by Alamo of $2,850,000.00.

       S.     The Bankruptcy Debtors have agreed to cooperate with the modifications requested by
Alamo and Guarantors subject to the exchange of full and complete mutual releases of claims between
Lender and the Bankruptcy Debtors and Bankruptcy Court approval.

       T.      Lender is willing to modify the Loan Documents and provide the accommodations
requested, subject to the terms of this Agreement.

                                               COVENANTS

      NOW, THEREFORE, in consideration of the mutual covenants and agreements set forth herein
and for other good and valuable consideration, the receipt and sufficiency of which are hereby
acknowledged, the Parties agree as follows:

        1.     Incorporation and Accuracy of Recitals. The Parties acknowledge, confirm and agree
that the Recitals set forth above are true, accurate and correct, and the Recitals are incorporated into
these Covenants without any difference or distinction between the two (2) segments of this
Agreement.

       2.      Payment. In addition to all other regularly scheduled payments due under the Loan
Documents, on or before August 16, 2021, Alamo shall pay Lender $2,850,000.00, which shall be
applied to the principal balance of the Bridge Loan (the “Alamo Payment”). Timely payment of the
Alamo Payment shall satisfy the June 30 Deliverables.

        3.     Extended Forbearance Period; Maturity Date. Subject to Lender’s timely receipt of
the Alamo Payment, Lender agrees to extend the Forbearance Period and the New Maturity Date as
those terms are defined in the Forbearance Agreement to and through September 30, 2021.

       4.    Limited Alamo Collateral Release. Upon receipt of the Alamo Payment, Lender shall
record UCC-3’s modifying the UCC-1s as to Alamo and releasing the following limited Alamo assets as

                                                   4
Modificaton to Limited Forbearance Agreement
{0002260.0192/01235849.DOCX / 3}
   Case 21-30721-sgj11 Doc 318 Filed 07/27/21           Entered 07/27/21 16:54:47       Page 9 of 16




collateral for the Loans:

          All inventory, equipment, work in process, rolling stock, cash, accounts, chattel paper,
          instruments of Debtor (including but not limited to all promissory notes), letter-of-credit
          rights, letters of credit, documents, deposit accounts, investment property, money, other
          rights to payment and performance, and general intangibles (including but not limited to
          all software and all payment intangibles), and all additions, replacements of and
          substitutions for all or any part of the foregoing property; all insurance refunds relating to
          the foregoing property; all good will relating to the foregoing property; all records and
          data and embedded software relating to the foregoing property, and all equipment,
          inventory and software to utilize, create, maintain and process any such records and data
          on electronic media; and all supporting obligations relating to the foregoing property; all
          whether now existing or hereafter arising, whether now owned or hereafter acquired or
          whether now or hereafter subject to any rights in the foregoing property; and all products
          and proceeds (Including but not limited to all insurance payments) of or relating to the
          foregoing property.

Nothing contained herein shall be construed as an agreement by Lender to release any of the real or
personal property as pledged as collateral for the Loans under the Deeds of Trust.

        5.     Mutual Releases Between Bankruptcy Debtors and Lender. Upon receipt of the
Alamo Payment, Lender on the one hand and the Bankruptcy Debtors on the other hand shall be deemed
to have mutually released each other and their respective agents, officers, directors, managers, members,
personal representatives, predecessors, successors and assigns from any and all claims, liens, demands,
causes of action, controversies, offsets, obligations, losses, damages and liabilities of every kind and
character whatsoever, at law or in equity, whether now known or unknown, and whether contingent or
matured, liquidated or unliquidated, vested or contingent, choate or inchoate, including, without
limitation, any action, omission, misrepresentation or other basis of liability founded either in tort or
contract and the duties arising thereunder including, without limitation, those rights and claims arising
under or in connection with the Loans, the Loan Documents, the Bankruptcy Code, and the Bankruptcy
Case. Lender shall thereafter take all steps reasonably appropriate to release all liens encumbering the
property of each Bankruptcy Debtor and withdraw its claims in the Bankruptcy Case. Nothing in the
foregoing release shall be construed as releasing Alamo or any of the Guarantors from their separate
covenants, agreements and liabilities under the Loan Documents.

         6.     Reaffirmation of Loan Documents. Except as modified herein, the Loan Documents
are ratified and affirmed by Alamo and Guarantors and shall remain in full force and effect. Alamo and
Guarantors acknowledge and agree that they waive and release any claims, counterclaims, defenses,
personal or otherwise, or rights of setoff or recoupment whatsoever with respect to any of the
indebtedness arising under the Loan Documents or to any of Lender’s rights and remedies under the
Loan Documents. Except as contemplated by this Agreement, any property or rights to or interest in
property granted as security in the Loan Documents shall remain as security for the Loans and the
obligations of Alamo and Guarantors in the Loan Documents and this Agreement.

       7.     Borrowers’ Representations and Warranties. Borrowers and Guarantors represent and
warrant to Lender as follows:


                                                    5
Modificaton to Limited Forbearance Agreement
{0002260.0192/01235849.DOCX / 3}
  Case 21-30721-sgj11 Doc 318 Filed 07/27/21             Entered 07/27/21 16:54:47    Page 10 of 16




                 a.     Accuracy of Representations. All representations and warranties made and
given by Borrowers in connection with this Agreement are accurate and correct. All representations
and warranties made and given by Borrowers and Guarantors in the Loan Documents were accurate and
correct at the time they were given.

                b.     No Default. Other than the Loan Defaults, no Event of Default has occurred
and is continuing under the Loan Documents, and no event has occurred and is continuing which, with
notice or the passage of time or both, would be an Event of Default as of the date of this Agreement.

               c.     Authorization. This Agreement, and any instrument or agreement required
hereunder, are within Borrowers’ and Guarantors’ (each an “Obligor” and collectively “Obligors”)
respective powers, have been duly authorized, and do not conflict with any of the organizational
documents of any Obligor. The persons signing this Agreement on behalf of Borrowers and
Guarantors represent and warrant that they have and maintain full authority to execute the Agreement
on behalf of Borrowers or Guarantors for whom they are signing.

                d.      Enforceable Agreements; No Conflicts. The Loan Documents and this
Agreement are legal, valid and binding agreements of Borrowers and Guarantors, enforceable in
accordance with their respective terms, and any instrument or agreement required hereunder or
thereunder, when executed and delivered, is (or will be) similarly legal, valid, binding and
enforceable. Borrowers and Guarantors acknowledge and agree that the Recitals are a summary, and
that they neither identify each and every obligation of Borrowers and Guarantors to Lender, nor identify
each and every agreement set forth in the Loan Documents. All agreements between and/or among
Borrowers, Guarantors and Lender continue to be legal, valid and binding agreements of Borrowers and
Guarantors, enforceable in accordance with their respective terms, notwithstanding the omission of any
such agreement from the Recitals. This Agreement does not conflict with any law, agreement or
obligation by which any Obligor is bound.

               e.      Financial Information. All financial and other information that has been or will
be supplied by Borrowers to Lender in connection with the Loan Documents and/or in connection
with this Agreement, is true, complete and accurate, in all material respects.

       8.    Bankruptcy Court Approval; Non-Performance. The obligations of the parties under
this Agreement shall be subject to the approval of the Bankruptcy Court and the timely performance of
all Borrower obligations arising hereunder. Should the Bankruptcy Court decline to approve this
Agreement or the Borrowers fail to timely perform any obligations as required hereunder, this
Agreement shall be null and void.

          9.         Acknowledgments and Agreements. Borrowers acknowledge and agree as follows:

              a.       Lender is under no legal or equitable obligation to enter into this Agreement.
Except as expressly provided hereunder, Lender does not waive, and shall not be deemed to have
waived any rights or remedies with respect to the Loan Defaults.

              b.      Lender (including all its predecessors, affiliates, and their parent companies
and/or subsidiaries) has not breached any duty to Borrowers or any Guarantor in connection with
the Loans referenced herein, and Lender (including all its predecessors, affiliates, and their parent

                                                     6
Modificaton to Limited Forbearance Agreement
{0002260.0192/01235849.DOCX / 3}
  Case 21-30721-sgj11 Doc 318 Filed 07/27/21             Entered 07/27/21 16:54:47        Page 11 of 16




companies and/or subsidiaries) has fully performed all obligations it may have had or now has to
Borrowers and Guarantors.

               c.     All interest, fees, or other charges imposed, accrued, or collected by Lender
(including all its predecessors) under the Loan Documents or this Agreement, and the method of
computing the interest, fees, or other charges, were and are proper and agreed to by Borrowers and
Guarantors and were properly computed and collected.

               d.      The agreements of Lender herein to forbear from exercising its remedies with
respect to the Loan Defaults is full, fair and adequate consideration for Borrowers’ and Guarantors’
agreements set forth herein.

               e.      Lender has no obligation to make any other additional loan or extension of credit
to or for the benefit of any of the Borrowers, and Lender has no obligation to provide additional
forbearance or to extend further accommodations to any Borrower or Guarantor.

                f.     This Agreement is not intended for, and shall not be construed to be for, the
benefit of any person not a signatory hereto.

               g.      The relationships between Borrowers and Guarantors, on the one hand, and
Lender, on the other hand, are strictly a debtor and creditor relationship and not fiduciary in nature, nor
is the relationship to be construed as creating any partnership or joint venture between the Parties.
Lender owes no fiduciary duty or any other special duty to any Party. The Parties are exercising their
own judgment with respect to Borrowers’ businesses. All information supplied to Lender is for
Lender’s protection only and no other party is entitled to rely on such information. There is no duty for
Lender to review, inspect, supervise or inform any party of any matter with respect to Borrowers’
businesses. The Parties intend that Lender may reasonably rely on all information supplied by the
Parties and any investigation or failure to investigate will not diminish Lender’s right to so rely.

         10.    Non-Bankruptcy Debtors’ Releases of Lender. In consideration of the agreements of
Lender set forth in this Agreement, Alamo and each of the Guarantors, jointly and severally, and all of
their respective affiliates, subsidiaries, agents, officers, directors, managers, members, personal
representatives, predecessors, successors and assigns (individually and collectively, the “Releasors”),
voluntarily, knowingly, unconditionally, and irrevocably, with specific and express intent, hereby fully
release, remise, and discharge Lender, the parents of Lender and all other affiliates and predecessors of
Lender, and all past and present officers, directors, agents, employees, servants, partners, shareholders,
attorneys, managers, successors and assigns of Lender, for, from, and against any and all claims, liens,
demands, causes of action, controversies, offsets, obligations, losses, damages and liabilities of every
kind and character whatsoever, at law or in equity, whether now known or unknown, and whether
contingent or matured, liquidated or unliquidated, vested or contingent, choate or inchoate, including,
without limitation, any action, omission, misrepresentation or other basis of liability founded either in
tort or contract and the duties arising thereunder, that the Releasors, or any one or more of them, has had
in the past, or now has, by reason of any matter, cause or thing set forth in, relating to or arising out of,
or in any way connected with or resulting from, the Loans referenced herein, the Loan Documents or
this Agreement. Alamo acknowledges that the foregoing release is a material inducement to Lender’s
decision to extend to Alamo the financial accommodations hereunder and has been relied upon by
Lender in agreeing to enter into this Agreement.

                                                     7
Modificaton to Limited Forbearance Agreement
{0002260.0192/01235849.DOCX / 3}
  Case 21-30721-sgj11 Doc 318 Filed 07/27/21            Entered 07/27/21 16:54:47       Page 12 of 16




        11.     No Prejudice; Reservation of Rights. This Agreement shall not prejudice any rights
or remedies of Lender under the Loan Documents. Except as provided herein, Lender reserves, without
limitation, all of its rights against any indemnitor, guarantor, or endorser of any of the Loan Documents.

        12.   No Impairment/Security. Except as expressly set forth herein, the Loan Documents
shall each remain unaffected and unmodified by this Agreement and all such Loan Documents shall
remain in full force and effect. Except as expressly set forth herein, nothing contained herein shall
be deemed a waiver of any of the rights and remedies that Lender may have against any Borrower or
Guarantor or of any of Lender’s rights and remedies arising out of the Loan Documents.

        13.    Integration. The Loan Documents and this Agreement: (a) integrate all the terms and
conditions mentioned in or incidental to the Loan Documents; (b) supersede all oral negotiations and
prior and other writings with respect to their subject matter; and (c) are intended by the Parties as the
final expression of the agreement with respect to the terms and conditions set forth in those documents
and as the complete and exclusive statement of the terms agreed to by the Parties. If there is any
conflict between the terms, conditions and provisions of the Loan Documents and this Agreement, this
Agreement shall prevail. No modification of this Agreement and/or the Loan Documents shall be
effective unless in writing and signed by the applicable Parties to be bound thereby.

        14.     Represented by Counsel. The Parties hereby represent to each other that they
have reviewed this Agreement with competent legal counsel or voluntarily chose not to seek the
advice of counsel, and that no Party shall deny the validity of this Agreement on the grounds
that it did not understand the nature and consequences of this Agreement or did not have the
advice of independent counsel or an opportunity to consult counsel prior to executing it. The
Parties further acknowledge that, prior to the execution of this Agreement, each Party and each Party’s
respective counsel has had an adequate opportunity to make whatever investigation or inquiry any of
them deems necessary or desirable with respect to the subject matter of this Agreement. The Parties
have negotiated, read and approved the language of this Agreement, which language shall be construed
in its entirety according to its fair meaning and not strictly for or against any of the Parties who have
worked together in preparing the final version of this Agreement.

       15.    Invalidity. If any court of competent jurisdiction determines any provision of this
Agreement or any of the Loan Documents to be invalid, illegal or unenforceable, that portion shall be
deemed severed from the rest, which shall remain in full force and effect as though the invalid, illegal
or unenforceable portion had never been a part of this Agreement and/or the Loan Documents.

        16.    Governing Law, Waiver of Jury Trial. This Agreement shall be governed by and
construed according to the laws of the State of Texas without regard to any otherwise applicable
principles of conflicts of laws. In the event of judicial proceedings relating to disputes arising
under this Agreement, Borrowers agree that all issues (including defenses, cross-claims and
counter-claims) shall be resolved by a judge and not a jury; and, therefore, Borrowers hereby
(A) covenant and agree not to elect a trial by jury of any issue triable of right by a jury, and
(B) waive any right to trial by jury fully to the extent that any such right will now or hereafter
exist. This waiver of right to trial by jury is separately given, knowingly and voluntarily, by
Borrowers, and this waiver is intended to encompass individually each instance and each issue
as to which the right to a jury trial would otherwise accrue. Lender is hereby authorized and

                                                    8
Modificaton to Limited Forbearance Agreement
{0002260.0192/01235849.DOCX / 3}
  Case 21-30721-sgj11 Doc 318 Filed 07/27/21           Entered 07/27/21 16:54:47       Page 13 of 16




requested to submit this Agreement to any court having jurisdiction over the subject matter and the
Parties hereto, so as to serve as conclusive evidence of Borrowers’ waiver of the right to jury trial.
Further, Borrowers hereby certify that no representative or agent of Lender (including Lender’s
counsel) has represented, expressly or otherwise, to Borrowers that Lender will not seek to enforce this
waiver of right to jury trial provision.

        17.     Attorneys’ Fees. In the event of any lawsuit, arbitration, or Bankruptcy Proceeding
involving the Indebtedness or disputes arising in connection with this Agreement, the prevailing Party is
entitled to recover costs and reasonable attorneys’ fees (including any reasonable allocated costs of in-
house counsel) incurred in connection with the lawsuit, arbitration, or Bankruptcy Proceeding.

        18.     Successors and Assigns. This Agreement shall be binding upon and inure to the benefit
of the Parties hereto and their respective successors and assigns; provided, however, Borrowers may
not transfer their rights under this Agreement, its exhibits, the Loan Documents. Lender may transfer
its rights under this Agreement or the Loan Documents to any successor-in-interest at any time,
including during the Forbearance Period.

        19.    Further Default. Except with respect to the Loan Defaults identified in the
Forbearance Agreement, the failure of any Borrower or Guarantor to comply with any provision of
this Agreement or with the terms and conditions of the Loan Documents (other than the Loan
Defaults) after the date of this Agreement shall constitute an Event of Default and shall entitle Lender
to exercise any and all of its rights and remedies under the Loan Documents and this Agreement.

        20.       No Waiver. No failure to exercise, and no delay in exercising any right, power or
remedy hereunder or under any of the Loan Documents shall impair any right, power or remedy that
Lender may have, nor shall such delay be construed to be a waiver of any of such rights, powers or
remedies. No waiver of any default or breach of any Borrower or Guarantor shall be a waiver of any
other default or breach or of any default or breach subsequently occurring. Lender shall not be deemed
to have waived any right, power, or remedy except in writing signed by an officer of Lender expressly
stating that it is a waiver of the same right, power or remedy.

        21.    No Consent. Lender makes no express or implied consent to any modifications of
further forbearance involving any of the matters set forth in this Agreement or any other action of
Lender. Lender’s execution of this Agreement shall not constitute a waiver, either express or
implied, of the requirement that any modification or further forbearance of the Loan Documents shall
require the express written approval of Lender.

       22.      Cumulative Remedies. The rights and remedies of Lender under this Agreement and
the Loan Documents are cumulative and not exclusive of any rights or remedies that Lender would
otherwise have, and may be pursued at any time and from time to time and in such order as Lender shall
determine in its sole and absolute discretion.

        23.    Mutual Agreement. The Parties hereto agree that the terms and provisions of this
Agreement embody their mutual intent and that such terms and provisions are not to be construed
more liberally in favor, or more strictly against, any Party. This Agreement shall not be construed as if
it had been prepared by one of the Parties, but rather as if it had been prepared by all of the Parties.


                                                   9
Modificaton to Limited Forbearance Agreement
{0002260.0192/01235849.DOCX / 3}
  Case 21-30721-sgj11 Doc 318 Filed 07/27/21             Entered 07/27/21 16:54:47       Page 14 of 16




     24.             Time is of the Essence. Time is of the essence of this Agreement and the Loan
Documents.

       25.     Headings. Sections headings are for reference only and shall not affect the interpretation
or meaning of any provision of this Agreement.

       26.     Further Performance. The Parties, whenever and as often as shall be requested by
Lender, shall execute, acknowledge, and deliver, or cause to be executed, acknowledged, and delivered
such further instruments and documents and to do any and all things as may be reasonably
requested in order to carry out the intent and purpose of this Agreement, the Loan Documents.

        27.     Binding Effect. This Agreement shall be binding upon and inure to the benefit of the
Parties and their respective successors and assigns.

        28.     Counterparts and Execution. This Agreement may be executed in multiple
counterparts, each of which, when so executed, shall be deemed an original, but all such counterparts
shall constitute but one and the same Agreement. This Agreement shall become effective upon
execution of the Agreement by all Parties. This Agreement may be executed and transmitted
electronically, including by email and facsimile, and such electronic signatures and copies shall have the
force and effect of an original signature.

        29.     Survival. The representations, warranties, acknowledgements, and agreements set forth
herein shall survive the date of this Agreement.

       IN WITNESS WHEREOF, the Parties hereto have entered into and caused this Agreement to be
executed effective as of the date first set forth above.


                                                          “LENDER”

             DATED: July __, 2021                        Arizona Bank & Trust

                                                         By
                                                         Name:
                                                         Title:


                                                         “BORROWERS”

             DATED: July __, 2021                        Fresh Acquisitions, LLC,
                                                         a Delaware limited liability company

                                                         By
                                                         Name
                                                         Title


                                                    10
Modificaton to Limited Forbearance Agreement
{0002260.0192/01235849.DOCX / 3}
  Case 21-30721-sgj11 Doc 318 Filed 07/27/21        Entered 07/27/21 16:54:47       Page 15 of 16




             DATED: July __, 2021                   Alamo Dynamic, LLC,
                                                    a Texas limited liability company

                                                    By
                                                    Name
                                                    Title


             DATED: July __, 2021                   FMP SA MANAGEMENT GROUP, LLC

                                                    By
                                                    Name
                                                    Title


                                                    “GUARANTORS”

             DATED: July __, 2021                   ALAMO FURR’S, LLC

                                                    By
                                                    Name
                                                    Title

             DATED: July __, 2021                   ALAMO FURR’S II, LLC

                                                    By
                                                    Name
                                                    Title

             DATED: July __, 2021                   ALLEN JONES




             DATED: July __, 2021                   LARRY HARRIS




             DATED: July __, 2021                   RACHEL HARRIS




                                               11
Modificaton to Limited Forbearance Agreement
{0002260.0192/01235849.DOCX / 3}
  Case 21-30721-sgj11 Doc 318 Filed 07/27/21        Entered 07/27/21 16:54:47   Page 16 of 16




             DATED: July __, 2021                   JASON KEMP




             DATED: July __, 2021                   TARA KEMP



             DATED: July __, 2021                   BRIAN PADILLA




                                               12
Modificaton to Limited Forbearance Agreement
{0002260.0192/01235849.DOCX / 3}
